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                                             12
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                           Costa Mesa, CA 92626




                                             13       on behalf of themselves and all others similarly situated
                             245 Fischer Ave.




                                             14
                                                                           UNITED STATES DISTRICT COURT
                                             15                           NORTHERN DISTRICT OF CALIFORNIA
                                             16
                                                         Clarice M. Shadid and Lawrence D.                   Case No.:
                                             17
                                                         Shadid, on behalf of themselves and
                                             18          all others similarly situated,                      CLASS ACTION COMPLAINT
                                                                                                             FOR DAMAGES AND
                                             19
                                                                                 Plaintiffs,                 INJUNCTIVE RELIEF FOR
                                             20          v.                                                  VIOLATIONS OF THE
                                                                                                             TELEPHONE CONSUMER
                                             21
                                                         Wells Fargo Home Mortgage,                          PROTECTION ACT, 47 U.S.C.
                                             22                                                              §227 ET SEQ.
                                                                                 Defendant.
                                             23
                                                                                                             JURY TRIAL DEMANDED
                                             24
                                             25
                                             26
                                             27
                                             28

                                                      ________________________________________________________________________________________________________
                                                      COMPLAINT                                       - !1 of ! 1 -                Case No.:
                                                             Case 3:17-cv-01079-RS Document 1 Filed 03/01/17 Page 2 of 15



                                                  1                                         INTRODUCTION
                                                  2   1. Clarice M. Shadid and Lawrence D. Shadid (“Plaintiffs”) bring this Class
                                                  3       Action Complaint for damages, injunctive relief, and any other available legal
                                                  4       or equitable remedies, resulting from the illegal actions of Wells Fargo Home
                                                  5       Mortgage (“Defendant”), in negligently and knowingly contacting Plaintiffs on
                                                  6       Plaintiffs’ cellular telephones, in violation of the Telephone Consumer
                                                  7       Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading Plaintiffs’
                                                  8       privacy. Plaintiffs allege as follows upon personal knowledge as to themselves
                                                  9       and their own acts and experiences, and, as to all other matters, upon
                                             10           information and belief, including investigation conducted by their attorneys.
                                              11      2. The TCPA was designed to prevent calls like the ones described within this
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                                             12           complaint, and to protect the privacy of citizens like Plaintiffs. “Voluminous
                           Costa Mesa, CA 92626




                                             13           consumer complaints about abuses of telephone technology – for example,
                             245 Fischer Ave.




                                             14           computerized calls dispatched to private homes – prompted Congress to pass
                                             15           the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
                                             16       3. In enacting the TCPA, Congress intended to give consumers a choice as to how
                                             17           creditors and telemarketers may call them, and made specific findings that
                                             18           “[t]echnologies that might allow consumers to avoid receiving such calls are not
                                             19           universally available, are costly, are unlikely to be enforced, or place an
                                             20           inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11. Toward
                                             21           this end, Congress found that:
                                                                 [b]anning such automated or prerecorded telephone calls to the
                                             22
                                                                 home, except when the receiving party consents to receiving the
                                             23                  call or when such calls are necessary in an emergency situation
                                                                 affecting the health and safety of the consumer, is the only
                                             24
                                                                 effective means of protecting telephone consumers from this
                                             25                  nuisance and privacy invasion.
                                             26           Id. at § 12 (emphasis added); see also Martin v. Leading Edge Recovery
                                             27          Solutions, LLC, 2012 WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing
                                             28          Congressional findings on TCPA’s purpose).

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                                                      COMPLAINT                                      - ! 1 of 13 -
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                                                  1   4. Congress also specifically found that “the evidence presented to the Congress
                                                  2       indicates that automated or prerecorded calls are a nuisance and an invasion of
                                                  3       privacy, regardless of the type of call….” Id. at §§ 12-13; see also, Mims, 132 S.
                                                  4       Ct. at 744 (emphasis added).
                                                  5   5. As Judge Easterbrook of the Seventh Circuit explained in a TCPA case
                                                  6       regarding calls similar to this one:
                                                  7
                                                                  The Telephone Consumer Protection Act … is well known for
                                                  8               its provisions limiting junk-fax transmissions. A less-litigated
                                                                  part of the Act curtails the use of automated dialers and
                                                  9
                                                                  prerecorded messages to cell phones, whose subscribers often
                                             10                   are billed by the minute as soon as the call is answered—and
                                                                  routing a call to voicemail counts as answering the call. An
                                              11
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                                                                  automated call to a landline phone can be an annoyance; an
                                             12                   automated call to a cell phone adds expense to annoyance.
                           Costa Mesa, CA 92626




                                             13       Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
                             245 Fischer Ave.




                                             14       6. The Ninth Circuit affirmed certification of a TCPA class cases similar to this
                                             15           one, including in Meyer v. Portfolio Recovery Assocs., LLC, 696 F.3d 943 (9th
                                             16           Cir. 2012).
                                             17                                     JURISDICTION AND VENUE
                                             18       7. This Court has federal question jurisdiction because this case arises out of
                                             19           violation of federal law. 47 U.S.C. §227; Mims v. Arrow Fin. Servs. LLC, 132 S.
                                             20           Ct. 740 (2012).
                                             21       8. Venue is proper in the United States District Court for the Northern District of
                                             22           California pursuant to 28 U.S.C. § 1391(b) because Defendant is subject to
                                             23           personal jurisdiction in the Northern District of California as it conducts
                                             24           business there, and holds its corporate offices in San Francisco, CA. 28 U.S.C.
                                             25           § 1391(b)(2).
                                             26
                                             27
                                             28

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                                                      COMPLAINT                                      - ! 2 of 13 -
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                                                  1                                               PARTIES
                                                  2   9. Plaintiffs are, and at all times mentioned herein were, citizens and resident of
                                                  3       the State of Nevada.
                                                  4   10. Plaintiffs is, and at all times mentioned herein are each a “person” as defined by
                                                  5       47 U.S.C. § 153 (39).
                                                  6   11. Defendant is located in the City of San Francisco, in the State of California.
                                                  7   12. Defendant, is and at all times mentioned herring was, a corporation is a
                                                  8       “person,” as defined by 47 U.S.C. § 153 (39).
                                                  9   13. Plaintiff alleges that at all times relevant herein Defendant conducted business
                                             10           in the State of California and in the County of San Francisco, within this
                                              11          judicial district.
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                                             12                                       FACTUAL ALLEGATIONS
                           Costa Mesa, CA 92626




                                             13       14. Starting in May 2014, Defendant began sending Plaintiff Clarice M. Shadid
                             245 Fischer Ave.




                                             14           bank statements, claiming a balance of $20,153.70, which Plaintiff Clarice M.
                                             15           Shadid disputed.
                                             16       15. From May 2014 until May 21,2016, Plaintiff Clarice M. Shadid and Defendant
                                             17           communicated numerous times regarding the alleged debt that Defendant
                                             18           claimed was owed and Plaintiff Clarice M. Shadid’s dispute of that debt.
                                             19       16. Prior to May 21, 2016, Defendant called Plaintiff Clarice M. Shadid’s cellular
                                             20           telephone and Plaintiff Clarice M. Shadid told Defendant not to call her on her
                                             21           cellphone. Plaintiff Clarice M. Shadid instructed Defendant that they “did not
                                             22           have permission from me to call me on my cell phone.” Plaintiff Clarice M.
                                             23           Shadid unequivocally revoked any prior express consent that Defendant may
                                             24           have received to contact Plaintiff Clarice M. Shadid on her cellular telephone.
                                             25       17. Nevertheless, Defendant continued to contact Plaintiff Clarice M. Shadid on her
                                             26           cellular telephone, including but not limited to the following:
                                             27                   • May 21, 2016: Defendant called from (800) 678-7986
                                             28                   • May 23, 2016: Defendant called from (800) 678-7986

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                                                      COMPLAINT                                      - ! 3 of 13 -
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                                                  1   18. On May 24, 2016, Defendant called Plaintiff Clarice M. Shadid’s cellular
                                                  2       telephone again and Plaintiff Clarice M. Shadid, again, instructed Defendant
                                                  3       “not to call me” and unequivocally revoked any prior express consent that
                                                  4       Defendant may have received to contact Plaintiff Clarice M. Shadid on her
                                                  5       cellular telephone.
                                                  6   19. Nevertheless, Defendant still continued to contact Plaintiff Clarice M. Shadid
                                                  7       on her cellular telephone, including but not limited to the following:
                                                  8               • June 3, 2016: Defendant called from (800) 853-8516
                                                  9               • June 16, 2016: Defendant called from (800) 678-7986
                                             10                   • June 17, 2016: Defendant called from (800) 853-8516
                                              11                  • June 20, 2016: Defendant called from (800) 678-7986
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                                             12                   • June 21, 2016: Defendant called from (800) 678-7986
                           Costa Mesa, CA 92626




                                             13                   • June 23, 2016: Defendant called from (800) 853-8516
                             245 Fischer Ave.




                                             14                   • June 24, 2016: Defendant called from (800) 853-8516
                                             15                   • June 27, 2016: Defendant called from (800) 944-4601
                                             16                   • June 28, 2016: Defendant called from (800) 678-1986
                                             17                   • June 29, 2016: Defendant called from (800) 678-7986
                                             18                   • June 30, 2016: Defendant called from (800) 678-7986
                                             19                   • July 5, 2016: Defendant called from (800) 678-7986
                                             20                   • July 6, 2016: Defendant called from (800) 678-7986
                                             21                   • July 8, 2016: Defendant called from (800) 678-7986
                                             22                   • July 9, 2016: Defendant called from (800) 678-7986
                                             23                   • July 11, 2016: Defendant called from (800) 678-7986
                                             24                   • July 12, 2016: Defendant called from (800) 678-7986
                                             25                   • July 13, 2016: Defendant called from (800) 678-7986
                                             26                   • July 14, 2016: Defendant called from (800) 944-4601
                                             27                   • July 15, 2016: Defendant called from (800) 868-0043
                                             28                   • July 16, 2016: Defendant called from (800) 678-7986

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                                                      COMPLAINT                                      - ! 4 of 13 -
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                                                  1               • July 18, 2016: Defendant called from (800) 853-8516
                                                  2               • July 19, 2016: Defendant called from (800) 678-7986
                                                  3               • July 20, 2016: Defendant called from (800) 944-4601
                                                  4               • July 21, 2016: Defendant called from (800) 944-4601
                                                  5               • July 22, 2016: Defendant called from (602) 328-2200
                                                  6               • July 23, 2016: Defendant called from (800) 678-7986
                                                  7   20. On July 25, 2016, at 7:13 p.m., Defendant called Plaintiff Clarice M. Shadid’s
                                                  8       cellular telephone, again, and Plaintiff Clarice M. Shadid, again, instructed
                                                  9       Defendant “don’t call me again” and that Defendant did not have any
                                             10           permission to contact Plaintiff Clarice M. Shadid on her cellular telephone.
                                              11      21. In addition, on August 8, 2016, Defendant called Plaintiff Lawrence D. Shadid
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                                             12           on his cellular telephone at (702) 334-XXXX from Defendant’s phone number
                           Costa Mesa, CA 92626




                                             13           (800) 678-7986.
                             245 Fischer Ave.




                                             14       22. Prior to August 8, 2016, Plaintiff Lawrence D. Shadid never provided
                                             15           Defendant any consent whatsoever to be contacted on his cellular telephone
                                             16           utilizing an automated telephone dialing system.
                                             17       23. On August 15, 2016 Defendant, again, called Plaintiff Lawrence D. Shadid on
                                             18           his cellular telephone at (702) 334-XXXX.                   Plaintiff Lawrence D. Shadid,
                                             19           again, made clear that “Wells Fargo does not have permission to call us on this
                                             20           number.”
                                             21       24. The phone calls placed to Plaintiffs’ cellular telephones described above were
                                             22           placed via an automatic telephone dialing system (“ATDS”), as defined by 47
                                             23           U.S.C. § 227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).
                                             24       25. Defendant used an ATDS when it made the phone calls described above because
                                             25           when Plaintiffs answered the calls, Plaintiffs noted a “pause” before a live
                                             26           person appeared on the line which is “characteristic of an automated dialer.”
                                             27           See, e.g., Thomas v. Dun & Bradstreet Credibility Corp., 100 F. Supp. 3d 937,
                                             28           945 (C.D. Cal. 2015); ATDSOliver v. DirecTV, LLC, No. 14-cv-7794, 2015 U.S.

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                                                  1       Dist. LEXIS 47964, at *11-12 (N.D. Ill. Apr. 13, 2015) (“allegation regarding
                                                  2       the ‘momentary pause,’ along with his other allegations regarding Defendant’s
                                                  3       phone calls, are sufficient to draw a reasonable inference that Defendant used an
                                                  4       ATDS”); Lofton v. Verizon Wireless (VAW) LLC, No. 13-cv-05665-YGR, 2015
                                                  5       U.S. Dist. LEXIS 34516, at *17 (N.D. Cal. Mar. 18, 2015) (“descriptions of the
                                                  6       ‘telltale’ pause after plaintiff picked up each call until the agent began speaking,
                                                  7       which suggests the use of a predictive dialing system”).
                                                  8   26. Defendant used an ATDS when it made the phone calls described above because
                                                  9       Defendant is a major national mortgage servicer that services a large amount of
                                             10           consumers’ mortgages and likely needs a “sophisticated phone system” capable
                                              11          of “storing phone numbers and dialing them automatically.” See, e.g., Thomas
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                                             12           v. Dun & Bradstreet Credibility Corp., 100 F. Supp. 3d 937, 945 (C.D. Cal.
                           Costa Mesa, CA 92626




                                             13           2015).
                             245 Fischer Ave.




                                             14       27. Defendant called Plaintiffs in order to collect a debt that was being disputed by
                                             15           Plaintiffs regarding a mortgage on their primary residential property.
                                             16       28. The telephone number that Defendant, or its agent called was assigned to a
                                             17           cellular telephone service for which Plaintiffs incurred a charge pursuant to 47
                                             18           U.S.C. § 227 (b)(1).
                                             19       29. These telephone calls constituted calls that were not for emergency purposes as
                                             20           defined by 47 U.S.C. § 227 (b)(1)(A)(i).
                                             21       30. At no time did Plaintiffs provide Defendant or its agents with prior express
                                             22           consent to receive the unsolicited and violating phone calls described above,
                                             23           pursuant to 47 U.S.C. § 227 (b)(1)(A).
                                             24       31. These telephone calls by Defendant, or its agents, violated 47 U.S.C. § 227(b)
                                             25           (1).
                                             26       32. Defendant’s actions were willful under because Defendant was aware that it was
                                             27           contacting Plaintiffs on their cellphones. Defendant was also aware that it had
                                             28           no prior express consent from Plaintiffs to contact them on their cellular phones.

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                                                  1   33. Plaintiffs suffered an invasion of a legally protected interest when Defendant
                                                  2       contacted Plaintiffs on their cellular phone when Defendant had no right to do
                                                  3       so, an invasion of Plaintiffs’ right to privacy. The TCPA protects consumers like
                                                  4       Plaintiffs from this precise behavior.
                                                  5   34. Plaintiffs have a common law right to be protected from invasions of their
                                                  6       privacy. E.g., Samuel D. Warren & Louis D. Brandeis, The Right to Privacy, 4
                                                  7       Harv. L. Rev. 1155, 193 (1890). Congress sought to further protect that right by
                                                  8       enacting the TCPA. “Banning such automated or prerecorded telephone calls to
                                                  9       the home, except when the receiving party consents to receiving the call or
                                             10           when such calls are necessary in an emergency situation affecting the health and
                                              11          safety of the consumer, is the only effective means of protecting telephone
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                                             12           consumers from this nuisance and privacy invasion.” TCPA, Pub.L. No. 102–
                           Costa Mesa, CA 92626




                                             13           243 at § 12 (emphasis added); see also Martin v. Leading Edge Recovery
                             245 Fischer Ave.




                                             14           Solutions, LLC, 2012 WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing
                                             15           Congressional findings on TCPA’s purpose).
                                             16       35. Plaintiffs were affected personally because when he realized the behavior of
                                             17           Defendant described above (continuous and illegal phone calls), Plaintiffs felt
                                             18           that their privacy had been invaded by Defendant who had no right to contact
                                             19           Plaintiffs’ private cellular phones.
                                             20       36. The injury suffered by Plaintiffs is concrete because Defendant’s violations
                                             21           caused Plaintiffs to suffer an invasion of privacy.                   In enacting the TCPA,
                                             22           Congress specifically sought to protect consumers from invasions of privacy
                                             23           and created restrictions on contact to people’s cellular telephones.
                                             24       37. Further, Defendant’s violations also caused Plaintiffs to suffer a real and
                                             25           concrete harm because when Defendant called Plaintiffs, Plaintiffs’ time was
                                             26           wasted on phone calls with Defendant when Defendant had no right to contact
                                             27           Plaintiffs. Defendant also consumed and wasted Plaintiffs’ cellphone battery
                                             28           life. Plaintiffs also suffered from frustration and annoyance which the TCPA

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                                                  1       was enacted to prevent. See, e.g., Mey v. Got Warranty, Inc., No. 5:15-CV-101,
                                                  2       2016 U.S. Dist. LEXIS 84972, at *8 (N.D.W. Va. June 30, 2016) (“[S]uch calls
                                                  3       also cause intangible injuries, regardless of whether the consumer has a prepaid
                                                  4       cell phone or a plan with a limited number of minutes. The main types of
                                                  5       intangible harm that unlawful calls cause are (1) invasion of privacy, (2)
                                                  6       intrusion upon and occupation of the capacity of the consumer’s cell phone, and
                                                  7       (3) wasting the consumer’s time or causing the risk of personal injury due to
                                                  8       interruption and distraction.”).
                                                  9                              CLASS ACTION ALLEGATIONS
                                             10       38. Plaintiffs bring this action on behalf of themselves and on behalf of and all
                                              11          others similarly situated (“the Class”).
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                                             12       39. Plaintiffs represent, and are a member of the Class, consisting of:
                           Costa Mesa, CA 92626




                                             13                   All persons within the United States who received any
                             245 Fischer Ave.




                                                                  automated or pre-recorded cell phone calls from Defendant
                                             14
                                                                  without prior express consent within four years prior to the
                                             15                   filing of this Complaint.
                                             16       40. Defendant and its employees or agents are excluded from the Class. Plaintiffs
                                             17           do not know the number of members in the Class, but believe the Class
                                             18           members number in the tens of thousands, if not more. Thus, this matter should
                                             19           be certified as a Class action to assist in the expeditious litigation of this matter.
                                             20       41. Plaintiffs and member of the Class were harmed by the acts of Defendant in at
                                             21           least the following ways: Defendant, either directly or through its agents,
                                             22           illegally contacted Plaintiffs and the Class members via their cellular
                                             23           telephones, thereby causing Plaintiffs and the Class members to incur certain
                                             24           cellular telephone charges or reduced cellular telephone time for which
                                             25           Plaintiffs and the Class members previously paid, and invading the privacy of
                                             26           said Plaintiffs and the Class members. Plaintiffs and the Class members were
                                             27           damaged thereby.
                                             28

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                                                  1   42. This suit seeks only damages and injunctive relief for recovery of economic
                                                  2       injury on behalf of the Class, and it expressly is not intended to request any
                                                  3       recovery for personal injury and claims related thereto. Plaintiffs reserve the
                                                  4       right to expand the Class definition to seek recovery on behalf of additional
                                                  5       persons as warranted as facts are learned in further investigation and discovery.
                                                  6   43. The joinder of the Class members is impractical and the disposition of their
                                                  7       claims in the Class action will provide substantial benefits both to the parties
                                                  8       and to the court. The Class can be identified through Defendant’s records or
                                                  9       Defendant’s agents’ records.
                                             10       44. There is a well-defined community of interest in the questions of law and fact
                                              11          involved affecting the parties to be represented. The questions of law and fact
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                                             12           to the Class predominate over questions which may affect individual Class
                           Costa Mesa, CA 92626




                                             13           members, including the following:
                             245 Fischer Ave.




                                             14               a)     Whether, within the four years prior to the filing of this Complaint,
                                             15                      Defendant placed any unsolicited calls (other than a call made for
                                             16                      emergency purposes or made with the prior express consent of the
                                             17                      called party) to a Class member using any automatic telephone
                                             18                      dialing system to any telephone number assigned to a cellular
                                             19                      telephone service;
                                             20               b)     Whether Plaintiffs and the Class members were damaged thereby, and
                                             21                      the extent of damages for such violation; and
                                             22               c)     Whether Defendant should be enjoined from engaging in such
                                             23                      conduct in the future.
                                             24       45. As people that received at least one unsolicited cell phone call each without
                                             25           Plaintiffs’ prior express consent, Plaintiffs assert claims that are typical of the
                                             26           Class. Plaintiffs will fairly and adequately represent and protect the interests of
                                             27           the Class in that Plaintiffs have no interests antagonistic to any member of the
                                             28           Class.

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                                                  1   46. Plaintiffs and the members of the Class have all suffered irreparable harm as a
                                                  2       result of the Defendant’s unlawful and wrongful conduct. Absent a class action,
                                                  3       the Class will continue to face the potential for irreparable harm. In addition,
                                                  4       these violations of law will be allowed to proceed without remedy and
                                                  5       Defendant will likely continue such illegal conduct. Because of the size of the
                                                  6       individual Class member’s claims, few, if any, Class members could afford to
                                                  7       seek legal redress for the wrongs complained of herein.
                                                  8   47. Plaintiffs have retained counsel experienced in handling class action claims and
                                                  9       claims involving violations of the Telephone Consumer Protection Act.
                                             10       48. A class action is a superior method for the fair and efficient adjudication of this
                                              11          controversy. Class-wide damages are essential to induce Defendant to comply
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                                             12           with federal law. The interest of Class members in individually controlling the
                           Costa Mesa, CA 92626




                                             13           prosecution of separate claims against Defendant is small because the maximum
                             245 Fischer Ave.




                                             14           statutory damages in an individual action for violation of privacy are minimal.
                                             15           Management of these claims is likely to present significantly fewer difficulties
                                             16           than those presented in many class claims.
                                             17       49. Defendant has acted on grounds generally applicable to the Class, thereby
                                             18           making appropriate final injunctive relief and corresponding declaratory relief
                                             19           with respect to the Class as a whole.
                                             20       50. Plaintiffs and the Class members suffered an invasion of a legally protected
                                             21           interest when Defendant contacted Plaintiffs and the Class members on their
                                             22           cellular phone when Defendant had no right to do so, an invasion of Plaintiff’s
                                             23           and the Class members’ right to privacy. The TCPA protects consumers like
                                             24           Plaintiffs and the Class members from this precise behavior.
                                             25       51. Plaintiffs and the Class members have a common law right to be protected from
                                             26           invasions of privacy. E.g., Samuel D. Warren & Louis D. Brandeis, The Right
                                             27           to Privacy, 4 Harv. L. Rev. 1155, 193 (1890). Congress sought to further protect
                                             28           that right by enacting the TCPA.               “Banning such automated or prerecorded

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                                                  1       telephone calls to the home, except when the receiving party consents to
                                                  2       receiving the call or when such calls are necessary in an emergency situation
                                                  3       affecting the health and safety of the consumer, is the only effective means of
                                                  4       protecting telephone consumers from this nuisance and privacy invasion.”
                                                  5       TCPA, Pub.L. No. 102–243 at § 12 (emphasis added); see also Martin v.
                                                  6       Leading Edge Recovery Solutions, LLC, 2012 WL 3292838, at *4 (N.D. Ill.
                                                  7       Aug. 10, 2012) (citing Congressional findings on TCPA’s purpose).
                                                  8   52. Plaintiffs and the Class members were affected personally because the behavior
                                                  9       of Defendant described above (continuous and illegal phone calls) caused
                                             10           Plaintiff and the Class members to feel that their privacy had been invaded by
                                              11          Defendant who had no right to contact Plaintiffs’ or the Class members’ private
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                                             12           cellular phone.
                           Costa Mesa, CA 92626




                                             13       53. The injury suffered by Plaintiffs and the Class members is concrete because
                             245 Fischer Ave.




                                             14           Defendant’s violations caused Plaintiffs and the Class members to suffer an
                                             15           invasion of privacy.         In enacting the TCPA, Congress specifically sought to
                                             16           protect consumers from invasions of privacy and created restrictions on contact
                                             17           to people’s cellular telephones.
                                             18       54. Further, Defendant’s violations also cause Plaintiffs and the Class members to
                                             19           suffer a real and concrete harm because when Defendant called Plaintiff and the
                                             20           Class members, Plaintiffs’ and the Class members’ time was wasted on phone
                                             21           calls with Defendant when Defendant had no right to contact Plaintiff or the
                                             22           Class members. Defendant also consumed and wasted Plaintiff’s and the Class
                                             23           members’ cellphone battery life. Plaintiffs and the Class members also suffered
                                             24           from frustration and annoyance which the TCPA was enacted to prevent. See,
                                             25           e.g., Mey v. Got Warranty, Inc., No. 5:15-CV-101, 2016 U.S. Dist. LEXIS
                                             26           84972, at *8 (N.D.W. Va. June 30, 2016) (“[S]uch calls also cause intangible
                                             27           injuries, regardless of whether the consumer has a prepaid cell phone or a plan
                                             28           with a limited number of minutes. The main types of intangible harm that

                                                       ______________________________________________________________________________________________________
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                                                  1       unlawful calls cause are (1) invasion of privacy, (2) intrusion upon and
                                                  2       occupation of the capacity of the consumer’s cell phone, and (3) wasting the
                                                  3       consumer’s time or causing the risk of personal injury due to interruption and
                                                  4       distraction.”).
                                                  5                                  FIRST CAUSE OF ACTION
                                                  6                        NEGLIGENT VIOLATIONS OF THE TCPA
                                                  7                                     47 U.S.C. § 227 ET SEQ.
                                                  8   55. Plaintiffs incorporate by reference all of the above paragraphs of this Complaint
                                                  9       as though fully stated herein.
                                             10       56. The foregoing acts and omissions of Defendant constitute numerous and
                                              11          multiple negligent violations of the TCPA, including but not limited to each and
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                                             12           every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                           Costa Mesa, CA 92626




                                             13       57. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
                             245 Fischer Ave.




                                             14           Plaintiffs and The Class are entitled to an award of $500.00 in statutory
                                             15           damages, for each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B).
                                             16       58. Plaintiffs and the Class are also entitled to and seek injunctive relief prohibiting
                                             17           such conduct in the future.
                                                                                  SECOND CAUSE OF ACTION
                                             18
                                                                  KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                                             19
                                                                                            47 U.S.C. § 227 ET SEQ.
                                             20
                                                      59. Plaintiffs incorporate by reference all of the above paragraphs of this Complaint
                                             21
                                                          as though fully stated herein.
                                             22
                                                      60. The foregoing acts and omissions of Defendant constitute numerous and
                                             23
                                                          multiple knowing and/or willful violations of the TCPA, including but not
                                             24
                                                          limited to each and every one of the above-cited provisions of 47 U.S.C. § 227
                                             25
                                                          et seq.
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                                                      COMPLAINT                                      - !12 of 13 -
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                                                  1   61. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
                                                  2       et seq, Plaintiffs and The Class are entitled to an award of $1,500.00 in statutory
                                                  3       damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
                                                  4   62. Plaintiffs and the Class are also entitled to and seek injunctive relief prohibiting
                                                  5       such conduct in the future.
                                                  6                                     PRAYER FOR RELIEF
                                                  7          Wherefore, Plaintiffs respectfully request the Court grant Plaintiffs and The
                                                  8   Class members the following relief against Defendant:
                                                  9         •      That the action regarding each violation of the TCPA be certified as a
                                             10                    class action on behalf of the Class and requested herein;
                                              11            •      That Plaintiffs be appointed as representatives of the Class;
KAZEROUNI LAW GROUP, APC




                                             12             •      That Plaintiffs’ counsel be appointed as counsel for the Class;
                           Costa Mesa, CA 92626




                                             13             •      Statutory damages of $500.00 for each negligent violation of the TCPA
                             245 Fischer Ave.




                                             14                    pursuant to 47 U.S.C. § 227(b)(3)(B) for each plaintiff and putative
                                             15                    class member;
                                             16             •      Statutory damages of $1,500.00 for each knowing and/or willful
                                             17                    violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
                                             18                    U.S.C. § 227(b)(3)(C) for each plaintiff and putative class member;
                                             19             •      Pursuant to 47 U.S.C § 227(b)(3)(A), injunctive relief prohibiting such
                                             20                    conduct in the future;
                                             21             •      any and all other relief that this Court deems just and proper;
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                                                      COMPLAINT                                      - !13 of 13 -
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 1                                          TRIAL BY JURY
 2   63. Pursuant to the seventh amendment to the Constitution of the United States of
 3       America, Plaintiffs are entitled to, and demand, a trial by jury.
 4
           Dated this 28 day of February 2017.
 5
 6                                                  Respectfully submitted,
                                                    KAZEROUNI LAW GROUP, APC
 7
 8
                                                    By:        /s/ Abbas Kazerounian
 9
                                                               Abbas Kazerounian, Esq.
10                                                             245 Fischer Ave.
                                                               Costa Mesa, CA 92626
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                                                               Attorneys for Plaintiffs
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     COMPLAINT                                      - !14 of 13 -
